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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ------------------------------------------------------------X
  MERCEDES BISONO,
                                      Plaintiff,                  CV: 18-2975
  v.

  FINANCIAL RECOVERY SERVICES, INC.

                                      Defendant.
  -----------------------------------------------------------X

              VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL

                                           I. INTRODUCTION

         1. This is an action for actual, statutory damages and punitive damages and for a
            declaratory judgment brought by Plaintiff, Mercedes Bisono, an individual
            consumer, (hereinafter “Ms. Bisono” or “Plaintiff”) against Financial
            Recovery Services, Inc. (hereinafter “Financial Recovery” or “Defendant”) for
            violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq
            (hereinafter “FDCPA”), which prohibits debt collectors from engaging in
            abusive, deceptive, and unfair practices and for attorneys’ fees, litigation
            expenses and costs pursuant to 28 U.S.C. § 2201 and § 2202; for violation of
            New York General Business Law §349 (hereinafter GBL §349) which
            prohibits deceptive acts or practices in the conduct of any business; trade, or
            commerce or in the furnishing of any service in the State of New York which
            shall be unlawful; and a declaratory judgment for violation of the New York
            Fair Debt Collection Practices Act §601 (8) which prohibits principal creditors
            and their agents (debt collectors) from making a “claim or attempt, or threaten
            to enforce a right with knowledge or reason to know that the right does not
            exist” (hereinafter “NYFDCPA”) for knowingly attempting to collect a debt
            before debt was validated.

                                            II. JURISDICTION

         2. Jurisdiction of this court arises under 15 U.S.C. § 1692(k) and 28 U.S.C. §
            1331. Declaratory relief is available pursuant to 28 U.S.C. § 2201 and § 2202.
            Venue in this district is proper in that the Defendant transacts business here and
            the conduct complained of occurred here where the Plaintiff resides.


         3. This court has supplemental jurisdiction to hear all state law claims pursuant to
            §1367 of Title 28 of the U.S.C and as such has jurisdiction to rule on violations
            of GBL §349 and the NYFDCPA §601.
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                                        III. PARTIES

       4. Plaintiff, Mercedes Bisono is a natural person residing in Nassau County
          located at 5 Hedge Lane, Westbury, NY 11590; a “consumer” as that term is
          defined by 15 U.S.C. §1692a(3); and a person affected by a violation of the
          FDCPA and other claims with standing to bring this claim primarily under 15
          U.S.C. §1692.

       5. Defendant, Financial Recovery is a Minnesota Business Corporation registered
          and authorized to do business in New York State; primarily involved and
          engaged in the business of collecting debt in New York State. Financial
          Recovery has its principal place of business located at 4510 W 77th Street,
          Suite 200, Minneapolis, Minnesota 55438.

       6. According to the New York Department of State, Financial Recovery may be
          served through the Secretary of State for service to Financial Recovery
          Services, located at P.O. Box 385908 Minneapolis, Minnesota 55438. The
          principal purpose of the Defendant is the collection of debts including in the
          county of Nassau and State of New York and Defendant regularly attempts to
          collect debts alleged to be due to another. Defendant is a “debt collector” as
          that term is defined by 15 U.S.C. §1692a (6).

       7. Defendant, Financial Recovery is engaged in the collection of debts from
          consumers using the mail and the telephone. The Defendant regularly attempts
          to collect consumer debts alleged to be due to another. The Defendant is a
          “debt collector” as defined by the FDCPA, 15 U.S.C. § 1692a (6).

                              IV. FACTUAL ALLEGATIONS

       8. Plaintiff allegedly owes a debt from TD Bank USA, N.A. which was
          transferred to Financial Recovery for collection.

       9. On April 24, 2018 Plaintiff received a debt validation letter from Financial
          Recovery Services, Inc. Furthermore, there were multiple collection attempts
          within the letter. see Exhibit “B”

       10. Financial Recovery is a self-proclaimed debt collector in which their website
           explains: “Financial Recovery is collection agency specializing in custom
           collection and receivables management.” see Hyperlink below

          http://www.fin-rec.com/who-we-are/about-us/

       11. Upon information and belief, there were additional collection letters sent
           directly to the Plaintiff
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       12. Financial Recovery allegedly has a pattern and practice of deceptive business
           practices in collecting debts. see Hyperlink

          https://www.consumerfinance.gov/data-research/consumer-
          complaints/search/?from=0&searchField=all&searchText=financial%20recove
          ry%20services&size=25&sort=created_date_desc

          The search of the Consumer Financial Protection Bureau complaints database,
          reports over 450 recent complaints against Financial Recovery. We can only
          imagine how many more additional unreported complaints for deceptive debt
          collection practices as it seems that this is the modus operandi for this
          company.

       13. Financial Recovery knew or should have known that Plaintiff’s debt validation
           letter was serving a dual purpose as a 30-Day Validation Notice and a
           collection notice demanding payment. Therefore, Financial Recovery should
           have ceased including collection attempts within the debt validation sent
           directly to Ms. Bisono.

       14. Due to Financial Recovery’s practice of deceptive collection practices, the
           Plaintiff has had considerable anxiety and stress in trying to decipher whether the
           letter is an opportunity to object or submit immediate payment to the alleged debt.
           see Exhibit “B”.

       15. There is no question that Defendant, Financial Recovery, should have not
           attempted to collect a debt within the same 30 Day statutory period that allows
           Ms. Bisono to either confirm and dispute the alleged $966.16 debt.


                                    FIRST CLAIM FOR RELEIF

              V. FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
                       VIOLATIONS AGAINST THE DEFENDANT

       16. Plaintiff repeats and realleges and incorporates by reference to the foregoing
           paragraphs as though fully stated herein.

       17. Plaintiff allegedly owes a debt purportedly owed to a creditor on whose behalf
           Financial Recovery.

       18. The alleged debt was transferred to the Defendant, Financial Recovery for
           collections against and from the Plaintiff. In Skinner, The Court held
           “individuals and entities who regularly purchase debts originated by someone
           else and then seek to collect those debts for their own account” are considered
           debt collectors. Skinner v. LVNV Funding, LLC, 2018 WL 319320.
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       19. 15 U.S.C. §1692g states in relevant part that:

               (b)     the debt collector shall cease collection of the debt, or any disputed
                       portion thereof, until the debt collector obtains verification of the
                       debt

               15 U.S.C. §1692 f “any unfair or unconscionable means to collect or attempt
               to collect the alleged debt”

                       (1)    Attempt to collect any amount not authorized by the
                       agreement creating the debt or permitted by law

          Defendant, Financial Recovery intentionally attempted to collect on a debt within
          a 30-Day debt validation letter.


       20. The Defendant violated numerous provisions of the FDCPA. The Defendant’s
           willful violations include but are not limited to the following:

          (a) § 1692g (b): Defendant, Financial Recovery, On or around April 24, 2018
              sent a debt valid dation letter directly to Plaintiff. Although letter provided
              notice to Ms. Bisono that she had thirty days to dispute the validity of this
              debt however, collection attempts were made multiple times within the
              letter. Furthermore, there were three payment coupons which included the
              balance due attached at the bottom of letter. In addition, instructions were
              attached at the top of the coupons stating, “Detach Coupon and Mail
              Payment”. Moreover, the language within the letter stated that Financial
              Recovery now accepts some forms of payment online at www.fin-rec.com.
              This is a violation because Financial Recovery did not cease collection
              attempts during Ms. Bisono 30-Day period to dispute the debt.

          (b) §1692f (1): Defendant Financial Recovery, On or around April 24, 2018
              sent a debt validation letter directly to Ms. Bisono. The letter itself stated
              Ms. Bisono had the opportunity within 30 days to dispute the validity of the
              debt however, made collection attempts as well. The letter contained three
              payment coupons with the balance preprinted on each coupon and provided
              an address if sending a payment overnight. An unsophisticated consumer
              would have a great deal of trouble deciphering whether the 30 Day
              statutory grace period applies or if a payment had to be made immediately
              upon receipt. This is a violation because it would be unconscionable to
              believe Ms. Bisono could readily understand from the letter that she had 30
              days to dispute the validity of the debt while within the same letter, there is
              an address for overnight payments and three preprinted coupons affixed at
              the bottom.
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              As a result of each of Financial Recovery’s violation of the FDCPA, the
              Defendant is liable to Ms. Bisono for declaratory judgment that the
              Defendant’s conduct violated the FDCPA and that Financial Recovery
              cease collection activities; actual damages pursuant to 15 U.S.C. §1692
              k(a)(1); statutory damages in an amount up to $1,000.00 from the
              Defendant Financial Recovery pursuant to 15 U.S.C. §1692k(a)(2)(A); and
              reasonable attorney fees and costs from Defendant Financial Recovery
              pursuant to 15 U.S.C. §1692k(a)(3).


                              SECOND CLAIM FOR RELIEF

                       VI. NY GENERAL BUSINESS LAW §349 AS
                              AND AGAINST DEFENDANT

       21. The Plaintiff repeats and re-allege and incorporate by reference to the
           foregoing paragraphs as though fully stated herein.

       22. The Plaintiff is a "consumer" as that term is defined in the GENERAL
           BUSINESS LAW § 349 of New York.

       23. The Plaintiff’s relationship with the Defendant arose out of a "consumer debt"
           as that term in the General Business Law (hereinafter “GBL”) § 349 of New
           York.

       24. The Defendant, Financial Recovery was and is respectively a "debt collector"
           as that term is defined by applicable provisions of the GBL§ 349.

       25. Specifically, Defendant is liable to Plaintiff pursuant to GBL §349 which states
           in relevant part that:
           “Deceptive acts or practices in the conduct of any business, trade or commerce
           or in the furnishing of any service in this state are hereby declared unlawful.”

          Defendant, Financial Recovery sent a debt validation serving a dual purpose as
          a collection letter directly to Plaintiff to collect an alleged debt, despite
          statutorily a debt collector must cease collection activities until the debt is
          validated.

       26. Plaintiff have suffered both pecuniary and non-pecuniary actual damages in the
           form of $2.30 in fuel costs driving to attorney’s office, fear, anxiety and stress.
           see Exhibit “A”

        As a result, the defendant is liable under GBL § 349 violations and penalties.
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                                THIRD CLAIM FOR RELIEF

          VII.     NEW YORK FAIR DEBT COLLECTION PRACTICES ACT
                          VIOLATONS AGAINST DEFENDANT

       27. The Plaintiff repeats and realleges and incorporate by reference to the
           foregoing paragraphs as though fully stated herein.

       28. The Plaintiff is a "consumer" as that term is defined in the New York Fair Debt
           Collection Practices Act § 600 of New York.

       29. The Plaintiff’s relationship with the Defendant arose out of a "consumer debt"
           as that term in the New York Fair Debt Collection Practices Act § 600 of New
           York.

       30. The Defendant was and is a "debt collector" as that term is defined by
          applicable provisions of the New York Fair Debt Collection Practices Act§
          600.

       31. Under the New York Fair Debt Collection Practices Act §601 the Defendant
           Financial Recovery was and is prohibited from engaging in any conduct that
           the natural consequences of which is to oppress, harass or abuse any person.
           All of the FDCPA violations are realleged and incorporated herein by this
           reference and taken together constitute the conduct prohibited by this section.
           The 30-day debt validation letter serving a dual purpose as a collection notice
           was sent directly to Plaintiff despite statutorily, a debt collector must cease
           collection efforts until debt has been validated.


       32. The Plaintiff has suffered both actual pecuniary in the form of $2.30 in fuel
           costs driving to attorney’s office and non-pecuniary actual damages in the form
           of stress, fear, anxiety and harassment.

          As a result, the defendant is liable under New York Fair Debt Collection
          Practices Act § 602 violations and penalties.

                 A. Except as otherwise provided by law, any person who shall violate the
                 terms of this article shall be guilty of a misdemeanor and/or felony, and
                 each such violation shall be deemed a separate offense.

                 B. The attorney general or the district attorney of any county may bring an
                 action in the name of the people of the state to restrain or prevent any
                 violation of this article or any continuance of any such violation.

       33. The Plaintiff prays for a declaratory judgment adjudging that Defendant
           violated the NYFDCPA.
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  TRIAL BY JURY

        34. The Plaintiff is entitled to and hereby respectfully demands a trial by jury
            pursuant to US Const. amend. 7. Fed. R. Civ. Pro. 38.

     WHEREFORE, the Plaintiff respectfully requests that judgment be entered against
     the defendant for the following:

         A. Declaratory judgment that the Defendant’s conduct violated the FDCPA and
            must cease;

         B. Actual damages pursuant to 15 U.S.C. §1692k(a)(1) against the Defendant for
            Plaintiff;

         C. Statutory damages of $1,000 pursuant to 15 U.S.C § 1692k(a)(1) against the
            Defendant for the Plaintiff;

         D. Declaratory Judgment pursuant to New York General Business Law §601.

         E. Actual and punitive damages pursuant to GBL §349.

         F. Actual and punitive damages pursuant to §1692g (b), §1692f (1).

         G. Reasonable attorney fees and costs pursuant to 15 U.S.C. § 1692k(a)(3)
            against the Defendant for the Plaintiff; and

         H. For such other and further relief as the Court may deem just and proper.



  Dated this 18th day of May, 2018.

  Respectfully submitted,




  /s/ Eckor Joseph______________
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